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AO 440 (Rev. 0601) Summims in a Civil Action



received                              United States District Court
                                                                   for ihc

                                                         Hastcni District of Texas
    APH
             VISTA PEAK VENTURES. LLC




                           I'loimiffis)
                                V.                                           Civil Action No. 2;20-cv-00091-JRG

  NANJING CEO PANDA LCD TECHNOLOGY CO.
                          LTD..et a!



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                                                   SUMMONS IN A CIVIL ACTION


To: (Defendunfs name and address) NANJING CEC PANDA LCD TECHNOLOGY CO., LTD.
                                  PRC at 20th - 23rd Floor, China Power Information Building,
                                  37 Jlanning Road, Nanjing. China 210033




         A lawsuit has been filed against you.

         Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
arc lite United State.s or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiffs attorney,
whosename and address are:                Patrick J. Conroy
                                          Bragalone Conroy PC
                                          2200 Ross Avenue
                                          Suite 4500W
                                          Dallas, TX 75201                                              Viy

         If you fail to respond, judgment by default will be entered against you for the reliefdemanded in the complaint.
You also must file your answer or motion with the court.



                                                                               CLERK OF COURT



Date:         4/2/20
                                                                                         Signature ofClerk or Deputy Clerk
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